                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                 No. 5:22-CV-00054-M

 Amy Lohrenz, et al.,

                        Plaintiffs,

 v.                                                              Scheduling Order

 Bragg Communities, LLC, et al.,

                        Defendants.


       After considering pleadings and the Rule 26(f) Report submitted by the parties (D.E. 57),
the Court enters the following scheduling order:

       1.      Scope of Discovery

        The scope of discovery in this matter is limited to the issues identified in Paragraph 3(a)
of the Rule 26(f) Report.

       2.      Initial Disclosures

       If the parties have not already done so, they will make the initial disclosures required by
Rule 26(a)(1) by Tuesday, June 20, 2023.

       3.      Discovery Plan

              a.       All discovery shall be initiated in time to be completed by Monday, June
       03, 2024.

               b.      Plaintiffs and Defendants may serve on the other party up to 30
       interrogatories, including all discrete subparts.

              c.       Any objection to Interrogatories or Requests for Production shall be stated
       with particularity. Boilerplate objections (e.g. objections without a particularized basis,
       such as “overbroad, irrelevant, burdensome, not reasonably calculated to identify
       admissible evidence”) may be treated as a failure to answer pursuant to Rule 37(a)(4).

             d.       Each Plaintiffs and Defendants may serve on the other party up to 30
       Requests for Admission pursuant to Rule 36.




            Case 5:22-cv-00044-M Document 58 Filed 05/08/23 Page 1 of 4
               e.     Plaintiffs collectively and Defendants collectively may take up to 10
       depositions, including fact witnesses and depositions pursuant to Rule 30(b)(6). The
       parties may also depose expert witnesses and medical providers designated in the case.
       Absent a court order or stipulation by the parties, the length of each deposition shall be
       limited to seven hours on one day. Time taken for breaks and recesses shall not count
       towards the hour limit.

              f.       Supplementation required under Rule 26(e) shall occur within a
       reasonable time upon learning that a disclosure or response to a discovery request is
       incorrect or incomplete in some material respect.

       4.     Expert Reports

              a.     The parties shall make the disclosures required by Rule 26(a)(2) on the
       following schedule:

                    i.        Plaintiff’s disclosures shall be made no later than Friday, January
              12, 2024.

                   ii.      Defendant’s disclosures shall be made no later than Friday,
              February 09, 2024.

                   iii.       Rebuttal disclosures shall be made no later than Friday, February
              23, 2024.

                  iv.      Supplementation of disclosures shall be made no later than Friday,
              March 08, 2024.

       5.     Amendment of Pleadings and Addition of Parties

             a.      Except as provided by Rule 15(a), the parties must obtain leave of court to
       amend the pleadings or add parties.

               b.      The parties shall file motions to amend the pleadings or join additional
       parties no later than Friday, September 15, 2023.

       6.     Protective Orders

       Any proposed protective orders that discuss filing materials under seal must comply with
Local Civil Rule 79.2 and the presiding judge’s practice preferences. Failure to include the
necessary language will result in the court denying the motion without prejudice.

       7.     Dispositive Motion Deadline

       The parties shall file any dispositive motions by Monday, June 03, 2024.




            Case 5:22-cv-00044-M Document 58 Filed 05/08/23 Page 2 of 4
       8.      Alternative Dispute Resolution

               a.      The parties shall participate in a mediated settlement conference prior to
       the end of the discovery period. The parties shall file a statement identifying an agreed-
       upon mediator within 21 days from the date of this order. If the parties fail to notify the
       court of their agreed-upon mediator by this deadline, the Clerk of Court may appoint a
       mediator.

              b.       If a party or parties believe that this case should be exempted from the
       requirement to mediate, they may file a motion requesting an exemption. The motion
       should reflect the position of any party that has not joined in the motion. The court will
       consider the motion and determine, in its discretion, whether to grant the motion.

               c.    If a party or parties believes that a form of alternative dispute resolution
       other than mediation, such as a summary trial or court-hosted settlement conference,
       would be beneficial, they may file a motion requesting to proceed in that manner.

       9.      Trial Date and Related Deadlines

       Trial in this case is set for Tuesday, October 08, 2024. The court will hold a pretrial
conference on Tuesday, September 24, 2024 at 9:00 a.m.

        If the trial and/or pretrial conference dates create conflicts for any party, the Court will
entertain motions to continue, and the date(s) may be changed as needed depending on the court’s
and parties’ schedules.

       10.     Discovery of Electronically Stored Information

        The parties will meet and confer and agree on the form of a proposed consent order with
regard to electronically stored information, as well as a proposed confidentiality consent
protective order.

       11.     Extensions of Time to Respond to Discovery Requests

       Under Rule 29(b) of the Federal Rules of Civil Procedure the parties may stipulate to
extensions of time to respond to discovery and do not need to seek court approval unless the
proposed extension would interfere with the time set for completing discovery, for hearing a
motion, or for trial. Motions for extensions of time to respond to discovery that could be addressed
through a stipulation will be viewed with disfavor by the court.




             Case 5:22-cv-00044-M Document 58 Filed 05/08/23 Page 3 of 4
       12.     Consent to Magistrate Judge Jurisdiction

        A United States magistrate judge is available to conduct all proceedings in this action
(including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this
court. A magistrate judge may exercise this authority only if all parties voluntarily consent and
the district judge agrees that referral would be appropriate. The consent form is available on the
court’s website.

      The remaining portions of the Rule 26(f) Report that are not inconsistent with this
Scheduling Order are approved and adopted by the court.



Dated: May
Dated: May 8,
           8, 2023.
              2023                                  __________________________________
                                                    ROBERT T. NUMBERS, II
                                                    UNITED STATES MAGISTRATE JUDGE
                                             ______________________________________
                                             Robert T. Numbers, II
                                             United States Magistrate Judge




             Case 5:22-cv-00044-M Document 58 Filed 05/08/23 Page 4 of 4
